










NO. 07-09-0083-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL C

MARCH 13, 2009

______________________________


IN RE ROY JON, RELATOR

_______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Roy Jon, an inmate proceeding pro se and in forma pauperis, seeks a writ
of mandamus to compel the Lubbock County District Clerk, Barbara Sucsy, to serve the
defendants in cause number 2009-545,901 with citation and complaint filed in the 72nd
District Court of Lubbock County.  He alleges the district clerk must also issue affidavits
and written instruments such as “Plaintiff’s Affidavit of In Formal [sic] Pauperis, certified
copy of trust fund statement, Affidavit Relating to Exhaustion of Administrative Grievances
Step 1 and Step 2, and Affidavit Relating to Previous Filed Lawsuit.”  For the following
reasons, we deny Relator’s request and dismiss his petition for want of jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This Court has the authority to issue writs of mandamus against a judge of a district
or county court in our district and all writs necessary to enforce our jurisdiction.  Tex. Gov't
Code Ann. § 22.221(b) (Vernon Supp. 2008).  In order for a district clerk to fall within our
jurisdictional reach, it must be established that the issuance of the writ of mandamus is
necessary to enforce our jurisdiction.  In re Coronado, 980 S.W.2d 691, 692-93
(Tex.App.–San Antonio 1998, no pet.).  Relator has no appeal pending in our Court; thus,
he has not demonstrated that the exercise of our mandamus authority against the Lubbock
County District Clerk is appropriate to enforce our jurisdiction.  Consequently, we have no
authority to issue a writ of mandamus against Barbara Sucsy.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, Relator has failed to comply with the applicable rules of procedure. 
See Tex. R. App. P. 52.3.  Specifically, Appellant has not included an appendix to his
petition for writ of mandamus containing certified or sworn copies of the documents he
references in his petition.  The fact that Relator is proceeding pro se does not excuse him
from complying with rules of procedure.  See Wheeler v. Green, 157 S.W.3d 439, 444
(Tex. 2005); Holt v. F.F. Enterprises, 990 S.W.2d 756, 759 (Tex.App.–Amarillo 1998, pet.
denied). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice



